                     Case 7:25-cv-04780-CS           Document 9         Filed 06/17/25        Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                             __________ District of __________


            Paramount Pharmacy Group LLC                       )
                             Plaintiff                         )
                                v.                             )      Case No.     7:25-cv-04780-CS
                              Iqbal                            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Paramount Pharmacy Group LLC                                                                       .

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Date:          06/17/2025
                                                                                         Attorney’s signature


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